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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

---------------------------------------------------------------)
In re:                                                         )   Chapter 7
                                                               )   (Previously Chapter 11)
MOUNTAIN EXPRESS OIL COMPANY, et al., )
                                                               )   Case No.: 23-90147 (EVR)
                                                               )
         Debtors.                                              )   Jointly Administered
---------------------------------------------------------------)

  CHAPTER 7 TRUSTEE’S MOTION TO COMPEL OAK STREET REAL ESTATE
CAPITAL, LLC AND JARED SHEIKER TO ALLOW THE TRUSTEE TO COMPLETE
                   THEIR RULE 2004 EXAMINATIONS

        THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF
        YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE
        MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING
        PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY
        TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE
        WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR
        RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE GRANTED.
        IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE
        GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
        MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND
        THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
        MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE
        MOTION AT THE HEARING.

        REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

        AN ELECTRONIC HEARING WILL BE CONDUCTED ON THIS MATTER ON
        APRIL 23, 2024 AT 9:00 A.M. YOU MAY PARTICIPATE IN THE HEARING BY
        AN AUDIO AND VIDEO CONNECTION.

        AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S DIAL-IN
        FACILITY. YOU MAY ACCESS THE FACILITY AT 832-917-1510. ONCE
        CONNECTED, YOU WILL BE ASKED TO ENTER THE CONFERENCE ROOM
        NUMBER. JUDGE RODRIGUEZ’S CONFERENCE ROOM NUMBER IS 999276.
        VIDEO COMMUNICATION WILL BE BY USE OF THE GOTOMEETING
        PLATFORM. CONNECT BY CLICKING THE LINK UNDER “TELEPHONIC
        AND VIDEO PARTICIPATION” ON JUDGE RODRIGUEZ’S HOME PAGE.

        Janet Northrup, as duly appointed Chapter 7 Trustee (the “Trustee”) of the jointly

administered bankruptcy estates of Mountain Express Oil Company and affiliated debtors

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(together, “MEX” or “the Company”), hereby moves this Court to compel Oak Street Real Estate

Capital, LLC (“Oak Street”)1 and Jared Sheiker (“Sheiker”) to allow the Trustee to complete

their Rule 2004 examinations.

I.     INTRODUCTION2

       “A bankruptcy trustee is entrusted with specific, legally binding responsibilities,” including

“investigat[ing] the acts, conduct, assets, liabilities, and financial condition of the debtor.”

Commodity Futures Trading Comm’n v. Weintraub, 471 U.S. 342, 353 (1985); see also generally

Federal Rule of Bankruptcy Procedure 2004 (“Rule 2004”). One of the purposes of the Trustee’s

investigation is to “determin[e] whether wrongdoing has occurred,” In re Correra, 589 B.R. 76,

108 (N.D. Tex. 2018), and, if so, “discover[] evidence upon which future causes of action may be

based.” In re Royce Homes, LP, 449 B.R. 709, 722 (S.D. Tex. 2011). As shown herein, Oak Street

and Sheiker are attempting to thwart the Trustee’s investigation into the acts, conduct, liabilities,

and financial condition of MEX by refusing to allow the Trustee to complete their Rule 2004

examinations.

       Oak Street and Sheiker are two of the most important witnesses in this bankruptcy

proceeding. In June 2021, MEX executed a Program Agreement with Oak Street pursuant to which

Oak Street agreed to finance up to one billion dollars in sale-leaseback transactions. Thereafter,

MEX and Oak Street participated in over fifty (50) sale-leaseback transactions involving over 250

properties with an aggregate value exceeding eight hundred million dollars. As described below,



1
  In December 2021, Blue Owl Capital Inc. (“Blue Owl”) acquired Oak Street. Throughout this
Motion, Oak Street refers to (i) Oak Street Real Estate Capital, LLC prior to the acquisition and
(ii) Oak Street (to the extent it continues to operate as a separate legal entity) and Blue Owl,
individually and collectively, post-acquisition.
2
  The information contained in this Motion is based on the Trustee’s investigation, which remains
ongoing. The Trustee may obtain additional facts or evidence that changes, modifies, and/or
impacts the statements and positions contained herein.
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these sale-leaseback transactions and conduct associated therewith played a material role in

MEX’s bankruptcy and, consequently, the facts relating to the sale-leaseback transactions are

critical to the Trustee’s investigation into (i) MEX’s acts and conduct leading up the bankruptcy;

(ii) any causes of action for wrongdoing associated with MEX’s collapse; and (iii) potential

sources through which the Trustee can obtain a recovery for the benefit of MEX and its’ creditors.

See, e.g., In re McCombs, 436 B.R. 421, 450 (Bankr. S.D. Tex. Aug. 17, 2010) (“There is no

question that Chapter 7 trustees have a fiduciary duty to locate and liquidate assets for the benefit

of unsecured creditors.”).

       Among other things, Oak Street has unique and important knowledge relating to: (i) the

facts and circumstances underlying MEX’s over eight hundred million dollars in sale-leaseback

transactions; (ii) the potential siphoning of millions of dollars in MEX funds to MEX insiders in

connection with the closing of sale-leaseback transactions; (iii) self-interested and/or conflicted

transactions involving MEX insiders in connection with the sale-leaseback transactions; (iv) the

identity of entities who received funds subject to avoidance or other claims in connection with

sale-leaseback transactions; and (v) the facts and circumstances leading Oak Street to declare

dozens of MEX leases in purported default, which MEX insiders have testified drove them to file

for bankruptcy.3

       Notably, as a condition of executing the Program Agreement, Oak Street demanded that

MEX allow Oak Street to appoint one of MEX’s three Board members. MEX agreed and, in

December 2021, Sheiker was appointed to MEX’s Board. From December 2021 until January

2023, Sheiker held two roles: he (i) was an Oak Street employee and (ii) a member of MEX’s



3
 For example, Turjo Wadud, MEX’s former Co-CEO and 48.5% owner, testified: “Q: And do you
believe that Oak Street’s calling of a default precipitated or caused the bankruptcy? A: I believe
so.” See 10/25/23 Deposition Transcript at 136.
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Board. In those dual roles, Sheiker obtained a wealth of information critical to the Trustee’s

investigation. Among other things, Sheiker has knowledge relating to not only the subject matters

identified above for Oak Street, but also (i) whether and to what extent MEX established and

maintain internal controls relating to the sale-leaseback transactions and the operation of its retail

business; (ii) the disbursement of funds that caused MEX to become insolvent; (iii) whether

MEX’s controlling owners (Wadud and Frady) breached their fiduciary and other duties and, if so,

the facts relating thereto; (iv) sale-leaseback transactions involving entities other than Oak Street;

(v) self-interested transactions involving MEX insiders that caused or contributed to MEX’s

insolvency; and (vi) the recipients of MEX’s funds who may be a potential source of recovery for

MEX’s estate.

       Given the substantial amount of knowledge Oak Street and Sheiker independently hold,

the Trustee sought their separate Rule 2004 examinations. Oak Street, who shares counsel with

Sheiker, designated Sheiker to serve as its corporation representative and, thereafter, requested

that the Trustee take Sheiker’s individual and corporate representative deposition concurrently.

The Trustee agreed. But, in so accommodating Oak Street and Sheiker, the Trustee never waived

her right to take a full and complete examination of both Oak Street and Sheiker.

       Sheiker’s individual and corporate representative examinations convened on February 14

at 9:30 a.m. At approximately 3:45 p.m., after obtaining only 5.2 hours of on-the-record testimony,

the Trustee’s counsel concluded that it would be impossible to complete the concurrent

examinations in a single day and therefore adjourned the examinations for the day, though making

clear that the examinations were being held open so they could be completed on a later date.

       Unfortunately, Oak Street and Sheiker are now refusing to allow the examinations to

continue. Instead, they are claiming that the Trustee’s counsel was required to stay late into the


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evening and finish the examinations in a single day. Setting aside that the Trustee could not

reasonably complete both examinations of these important witnesses in a single day, Oak Street

and Sheiker cite no authority for their claim. In fact, the law is to the contrary. The Bankruptcy

Rules do not contain any time limitation for Rule 2004 examinations. And even stricter Fed. R.

Civ. P. 30 (which does not apply) permits the Trustee fourteen hours to complete the examinations,

i.e., seven hours for Sheiker’s individual examination and another seven for his examination as

Oak Street’s corporate representative.

       The Trustee has conferred in good faith to avoid this Motion. To that end, the Trustee

offered to (i) reconvene the examinations in Chicago (where Sheiker resides); (ii) work with

Sheiker to find a mutually agreeable date and time; and (iii) limit the remaining examination to 3.5

hours on-the-record (assuming no undue delays or lengthy objections). Oak Street and Sheiker

refused, necessitating this Motion.

I.     STATEMENT OF THE RELEVANT FACTS

       A.      Overview of MEX and the Bankruptcy

       In 2000, Barry and Gail Bierenbaum formed MEX as a fuel and lubricant distributor. In

2020, the Bierenbaums effectuated a leveraged buyout (“LBO”) through which (i) the

Bierenbaums received roughly One Hundred Million Dollars in proceeds and (ii) two of MEX’s

then employees, Lamar Frady (“Frady”) and Turjo Wadud (“Wadud”), became the Company’s

sole owners and Co-CEOs.

       Prior to the LBO, MEX’s business was focused primarily on fuel distribution i.e., entering

into fuel supply agreements with major fuel suppliers (e.g., Exxon) and then re-selling and

distributing that fuel to independent convenience stores (“C-Stores”) and other retail suppliers.

However, after the LBO, Frady and Wadud embarked on a plan to rapidly expand MEX’s retail


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business by leasing hundreds of C-Stores and trying to operate them.

        A key component of MEX’s retail expansion was its execution of sale-leaseback

transactions through which MEX would (i) acquire real property and a C-Store contained thereon;

(ii) sell that property to a third party; and (iii) thereafter lease the C-Store back from the third party

(together, a “Sale-Leaseback Transaction”).

        From 2020 through 2022, Frady and Wadud, using Sale-Leaseback Transactions, caused

MEX to expand its retail business by more than 300%. Indeed, by the end of 2022, MEX was

operating roughly 550 C-Stores. Although Sale-Leaseback Transactions became a material part of

MEX’s business, Frady and Wadud failed to establish or maintain internal controls over that

business. That fact is undisputed. Indeed, Sheiker, one of MEX’s three Board members, testified:

        Q:      Is it fair to say that while you were a MEX board member, Turjo and Lamar
                failed to cause MEX to establish sufficient internal controls over the retail
                business?
        A:      I think it’s fair.

See 2/14/24 Deposition Transcript at 197.

        While the Trustee’s investigation continues, there is evidence indicating that Wadud and

Frady failed to establish internal controls, and failed to make a reasonable effort to determine

whether Sale-Leaseback Transactions were profitable to the Company, because they used those

transactions to siphon millions of dollars to their own side companies Illuminous (100% owned

by Wadud) and Indepth (100% owned by Frady). Indeed, at closing, Wadud and Frady would

cause funds to be wired to Illuminous and Indepth as purported “fees” for the work they performed

locating and conducting due diligence on properties (even though such tasks were part of their jobs

as MEX Co-CEOs). The “fees” were substantial. For example, in September 2021 Illuminous and

Indepth each received $875,000 in connection with a Sale-Leaseback Transaction. Similarly, in

October 2021, Illuminous and Indepth each received another $875,000 in purported “fees” in

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connection with Sale-Leaseback Transactions. These entities received additional “fees” on other

Sale-Leaseback Transactions.

       In 2021 and 2022, MEX engaged in over 60 Sale-Leaseback Transactions involving 286

locations with an aggregate purchase price of over $825 million. The Trustee is now investigating,

inter alia, (i) whether and to what extent there was wrongdoing relating to these transactions (e.g.,

the siphoning of funds to MEX insiders’ separate companies) and (ii) whether parties associated

with the Sale-Leaseback Transactions are a source of potential recovery for MEX’s estates and

their creditors. Oak Street’s and Sheiker’s knowledge is important to that investigation.

       B.      Background on Oak Street.

       On June 30, 2021, MEX and Oak Street executed a Program Agreement pursuant to which

Oak Street agreed to finance up to one billion dollars of MEX’s acquisition of C-Stores and travel

centers through Sale-Leaseback Transactions. At a very high level, the Sale-Leaseback

Transactions with Oak Street generally worked as follows:

-      MEX would purchase a property and then sell that property to Oak Street;

-      Oak Street would then immediately lease the property back to MEX, with the lease rate
       being based on the price Oak Street paid MEX for the property, i.e., the more money Oak
       Street had to pay for a property, the more MEX would have to pay in rent.

-      Through the purported “rent” payments, MEX would repay Oak Street the funds it
       borrowed to acquire the properties as well as provide Oak Street with a return on that
       investment.

       While the Trustee’s investigation continues, it appears that Oak Street entered into the

Program Agreement and executed these transactions because, if successful, they provided Oak

Street with a substantial return over the life of the lease. That is, through the monthly lease

payments, MEX not only repaid the loan it obtained first Oak Street, but effectively paid a high

interest rate thereon over the course of the lease.


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       C.      Background on Sheiker.

       As a condition of executing the Program Agreement, Oak Street demanded that MEX allow

it to appoint one member to MEX’s Board. Thus, in December 2021, Oak Street appointed Sheiker

(an Oak Street employee) to serve on MEX’s Board. From December 2021 until January 2023,

MEX’s Board consisted of Wadud, Frady, and Sheiker. During that same time, Sheiker also

remained an Oak Street employee. As discussed below, given his dual role as a MEX Board

member and Oak Street employee, Sheiker has a wealth of information relevant to this proceeding.

       D.      Oak Street and Sheiker Have a Wealth of Relevant Knowledge.

       While the sections above provide a very general overview of Oak Street’s and Sheiker’s

involvement with MEX and the Sale-Leaseback Transactions, they make clear that both Oak Street

and Sheiker have a substantial amount of knowledge relevant to this proceeding. Among other

things, Oak Street and Sheiker each have knowledge and information relating to: (i) the reasons

why Oak Street executed over eight hundred million dollars of Sale-Leaseback Transactions with

MEX; (ii) the flow of funds to and from MEX in connection with those transactions; (iii) the extent

to which Wadud, Frady or others siphoned funds from MEX in connection with Sale-Leaseback

Transactions and the current locations of those funds; and (iv) the reasons why Oak Street declared

MEX in purported default of certain leases and the impact thereon on MEX.

       In addition to having knowledge on the topics listed above, if Sheiker complied with his

confidentiality obligations and fiduciary duties to MEX (a point the Trustee is not conceding),

Sheiker, as a MEX Board member, will have knowledge that Oak Street would not be privy to

because it is MEX’s own confidential and proprietary information. Such knowledge would

include, among other things, (i) the information discussed at MEX’s Board meetings relating to

the Company’s financial performance, Sale-Leaseback Transactions, internal controls, and the use


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of Company funds and assets; (ii) whether, to what extent, and how MEX established and

maintained internal controls; (iii) the details of any transactions involving entities owned, in whole

or in part, by MEX insiders; (iv) whether and to what extent MEX transferred funds or other assets

to entities owned, in whole or in part, by insiders such as Wadud and Frady; and (v) the current

location of MEX’s assets.

       E.      The Trustee Accommodates Oak Street and Sheiker by Agreeing to Take their
               Separate Rule 2004 Examinations Concurrently.

       The Trustee properly requested separate Rule 2004 examinations of Oak Street and

Sheiker. Separate examinations were warranted because, even though Oak Street and Sheiker have

overlapping knowledge given that Sheiker was and remains an Oak Street employee, if Sheiker

honored his fiduciary and confidentiality obligations to MEX, then Sheiker should have

information that is unknown to Oak Street as discussed above.

       After the Trustee requested Oak Street’s and Sheiker’s separate examinations, Oak Street’s

counsel – who also represents Sheiker – informed the Trustee that Oak Street intended on

designating Sheiker as its corporate representative for purposes of Oak Street’s Rule 2004

examination. Oak Street and Sheiker’s counsel then requested that the Trustee agree to take Oak

Street’s and Sheiker’s examinations at the same time to avoid duplicative questions of the same

witness. The Trustee agreed. But, in so doing, the Trustee never agreed to limit the amount of time

for the examinations. Nor would the Trustee do so. Given the substantial and materially important

information held by both Oak Street and Sheiker, the Trustee would not (and did not) forfeit the

right to conduct a thorough and shifting examination of both Oak Street and Sheiker simply to

accommodate those witnesses’ request to be deposed concurrently.

       F.      Oak Street and Sheiker Refuse to Continue their Examinations.



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       The Trustee’s counsel commenced the concurrent examinations of Oak Street and Sheiker

on February 14. The examination began at approximately 9:30 and continued until approximately

3:45. At that time, the Trustee’s counsel had only been able to obtain 5.2 hours of on-the-record

testimony, and it had become clear that it would be impossible to complete the examinations of

both witnesses in a single day. Indeed, given the wealth of knowledge held by Oak Street and

Sheiker, at 3:45pm Trustee’s counsel still had many hours of questioning that needed to be

conducted.

       Given that both examinations could not be completed in a single day, the Trustee’s counsel

adjourned the examinations, making clear that they needed to be completed on another date. To

avoid any purported burden on Sheiker, the Trustee’s counsel made clear that (i) he would re-

convene the examination in Chicago where Sheiker resides and (ii) would work cooperatively with

Sheiker to find a date and time that was mutually convenient.

       To that end, after the examinations the Trustee’s counsel emailed Oak Street and Sheiker’s

counsel to schedule a time to complete the examinations. See Exhibit A (2/16/24 Elrod e-mail). In

that email, Trustee’s counsel explained that the first date of examination involved only roughly

five hours of on-the-record testimony and why, under applicable law, the Trustee was entitled to

at least another 8.5 hours of on-the-record testimony (for a total of 14 hours, i.e., seven hours

examining Oak Street and seven hours examining Sheiker). To minimize any alleged burden, the

Trustee’s counsel, although not required to do so, agreed to limit the second examination to 3.5

hours on the record.4 Id. As before, the Trustee’s counsel was amenable to traveling to Chicago

for the resumed examination.



4
 At the time of the adjournment, the Trustee’s counsel concluded that he could not complete the
two examinations even if he stayed well into the night. Further, by adjourning the examinations,
the Trustee’s counsel was afforded an opportunity to review the remaining topics and testimony
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        Despite the Trustee’s right to complete the Rule 2004 examinations and the

accommodations relating thereto, Oak Street and Sheiker refuse to permit the Trustee to complete

the examinations. See Exhibit B. Oak Street and Sheiker claim that, rather than continue the

examination on a second date, the Trustee’s counsel was required to continue the examination late

into the evening (noting their belief that there was a 10:40pm flight that night). It is unsurprising

that they provide no case law to support the proposition that the Trustee’s counsel was required to

examine both Oak Street and Sheiker in a single day, rather than follow the more reasonable

approach of conducting the examination of two dates.

III.    ARGUMENT AND CITATION OF AUTHORITY

        A.      The Standard Governing This Motion.

        “A Rule 2004 examination permits a broad range of inquiry into all matters relevant to the

Debtors’ financial affairs,” including inquiry into “the acts, conduct or property or to the liabilities

and financial condition of the debtor, or to any matter which may affect the administration of the

Debtors’ estate, or to the Debtors’ right to a discharge.” See Fed. R. Bankr. P. 2004(b); In re Arkin

Melo, Inc., 44 B.R. 138, 140 (Bankr. S.D.N.Y. 1985); In re Washington Mutual, Inc., 408 B.R. 45,

49 (Bankr. D. Del. 2009) (noting that the scope of inquiry under Rule 2004 “is unfettered and

broad”). For that reason, courts have found that the scope of Rule 2004 examination is very broad,

in fact, far broader than discovery under the Federal Rules of Civil Procedure. See, e.g., In re

Correra, 589 B.R. 76, 109 (N.D. Tex. 2018) (“Discovery under Rule 2004 is broader than that




provided and, where appropriate, reduce the number of questions (something that could not have
been accomplished if the Trustee’s counsel was forced to move forward on February 14).
Regardless, given the pace of the examinations and the need to break for dinner, another 3.5 hours
on the record would have likely taken at least six more hours to complete. Of course, nothing
required the Trustee’s counsel to examinate both witnesses for more than twelve hours and until
10 p.m. at night or later.
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available under the Federal Rules of Civil Procedure”); In re Drexel Burnham Lambert Group,

Inc., 123 B.R. 702, 711 (Bankr. S.D.N.Y. 1991) (same); French, 145 B.R. at 992 (same).

       Notable here, Rule 2004 examinations are intended to root out and “expos[]e [] fraudulent

conduct” as well as “determin[e] whether wrongdoing has occurred.” In re Correra, 589 B.R. 76,

108 (N.D. Tex. 2018). And, if wrongdoing has occurred, a Rule 2004 examination can be used to

“discover[] evidence upon which future causes of action may be based.” In re Bounds, 443 B.R.

729, 732 (Bankr. W.D. Tex. 2010); In re Royce Homes, LP, 449 B.R. at 722 (“Rule 2004

examination is ‘aimed at discovering evidence upon which future causes of action may be based”).

To that end, courts have “likened [a Rule 2004 examination] to a ‘fishing expedition.’” In re

Bounds, 443 B.R. at 736.

       B.      Oak Street and Sheiker Have No Legitimate Basis for Refusing to Allow the
               Trustee to Complete their Rule 2004 Examinations.

       Oak Street and Sheiker have failed to provide, and cannot provide, any legitimate basis for

refusing to permit the Trustee to complete the Rule 2004 examinations.

               1.      Federal Rule of Civil Procedure 30 Does Not Apply.

       Oak Street and Sheiker have taken conflicting positions as to whether their examinations

are governed by Fed. R. Civ. P. 30(d)’s (“Rule 30”) (rebuttal) presumption that “a deposition is

limited to 1 day of 7 hours.” To the extent Oak Street and Sheiker rely on that argument now, it

fails. In fact, Rule 30 only supports the Trustee’s position that the examinations should continue.

       For one, Rule 30 does not apply to a Rule 2004 examination unless the examination is

being taken in connection with an adversary proceeding. See Bankruptcy Rule of Civ. P 7030

(“Rule 30 Fed. R. Civ. P. applies in adversary proceedings.”). Oak Street’s and Sheiker’s Rule

2004 examinations are not part of an adversary proceeding, and therefore Rule 30 does not apply.

While Oak Street and Sheiker originally relied upon Rule 30 as a basis for limiting the

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examinations, they now concede that Rule 30 is inapplicable here. See Exhibit B (“At no point

prior to or during his examination did I assert, as you now claim, that Mr. Sheiker’s Rule 2004

examination was governed by Fed. R. Civ. P. 30(b)(6).”).

       Further, even under stricter Rule 30,5 the Trustee would be permitted at least fourteen hours

to examine Sheiker in his dual corporate and individual capacities. Where, as here, a person is

being deposed in both an individual and corporate representative capacity, the examining party is

entitled to fourteen hours of deposition testimony, i.e., seven hours for the individual deposition

and seven hours for the corporate representative deposition. For example, in S. Tex. Neon Sign Co.

v. Ixtapa, Inc., 2009 U.S. Dist. LEXIS 148335, at *4 (S.D. Tex. June 2, 2009), a court in this

District rejected the claim that a witness who was being deposed in his individual and corporate

representative capacity was only required to testify for seven hours in a single day, holding:

“Plaintiff was allowed to depose Mr. Gonzales for seven hours in his individual capacity and

for seven hours as Defendant’s corporate representative.” In so holding, the Court quoted

another federal case holding that “[a]s a separate deposition that probes the knowledge of the entity

and not the personal knowledge of the individual testifying, a 30(b)(6) deposition should be subject

to its own independent seven-hour limit.” Id. (quoting Miller v. Waseca Med. Ctr., 205 F.R.D. 537,

540 (D. Minn. 2002)).

       This District’s holding in Ixtapa is consistent with caselaw nationwide. See, e.g., Sabre v.

First Dominion Capital, LLC, 2001 U.S. Dist. LEXIS 20637, at *1 (S.D.N.Y. Dec. 10, 2001) (“the

depositions of an individual who is noticed as an individual witness pursuant to Fed.R.Civ.P.

30(b)(1) and who is also produced as a corporate representative pursuant to Fed.R.Civ.P.



5
 “Discovery under Rule 2004 is far broader than discovery under the Federal Rules of Civil
Procedure and is often described as being in the nature of a fishing expedition.” In re VOX II, LLC,
2008 Bankr. LEXIS 556, at *2 (Bankr. D. Md. Mar. 4, 2008).
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30(b)(6) are presumptively subject to independent seven-hour time limits.”); Diplomat Golf

Course Venture, LLC v. Certain Underwriters at Lllyods, London, 2020 U.S. Dist. LEXIS 260013,

at *7-9 (S.D. Fla. Nov. 10, 2020) (rejecting argument that individual and corporate representative

deposition was limited to seven hours because “[t]here is a difference between an individual

deposition and one as a corporate representative.”); LendingTree, Inc. v. LowerMyBills, Inc., 2006

U.S. Dist. LEXIS 59589, at *3-6, 9 (W.D.N.C. Aug. 22, 2006) (granting motion to compel Rule

30(b)(6) deposition even though 30(b)(6) designee had previously testified in his individual

capacity on topics similar to those identified in the 30(b)(6) notice); Smith v. General Mills, 2006

U.S. Dist. LEXIS 19093, at *15 (S.D. Ohio Apr. 13, 2006) (“Courts have soundly rejected [the]

argument that prior deposition testimony from individual fact witnesses relieves a corporation

from designating a corporate spokesperson in response to a Rule 30(b)(6) notice of deposition.”).

       In short, nothing in the Bankruptcy Rules limits the Trustee’s examination to a single day.

In fact, even the stricter Federal Rules afford the Trustee at least fourteen hours to conduct the dual

examinations of Sheiker in his individual and corporate capacity.

       C.      Oak Street’s and Sheiker’s Claim that the Trustee Was Required to Complete
               Two Examinations in a Single Day is Unreasonable.

       In their counsel’s February 21 letter, Oak Street and Sheiker provide only one purported

basis for refusing to permit the Trustee to complete the Rule 2004 examinations, i.e., the Trustee’s

counsel should have stayed well into the night on February 14 to complete the examinations “in a

single day.” See Exhibit B. In so arguing, Oak Street and Sheiker’s counsel notes that Trustee’s

counsel could have taken a flight that “did not depart until 10:40pm.” Id. Unsurprisingly, Oak

Street and Sheiker do not cite a single case holding that a Trustee’s counsel (or any attorney) is

required to conduct two Rule 2004 examinations in a single day (for more than twelve hours)

regardless of whether those examinations continue well into the night.

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       Oak Street’s and Sheiker’s position also ignores the fact that the Trustee’s counsel

adjourned the examinations because, even if they continued, they could not have been completed

in a single day. As of the time of the adjournment, the Trustee’s counsel still had many hours of

questioning remaining and, consequently, the Trustee’s counsel concluded that even if he stayed

well into the night, the examinations could not be completed. See supra at n.5.

       Moreover, Oak Street and Sheiker’s position is indicative of the maxim “no good deed

goes unpunished.” Oak Street and Sheiker are the ones who requested that their depositions run

concurrently. The Trustee’s counsel could have rejected that request and insisted that each

deposition take place independently. It did not. Rather, to act efficiently, cooperatively, and in

good faith, the Trustee agreed to allow the examinations to occur concurrently. While it was

certainly the Trustee’s hope that both examinations could be completed in a single day, the Trustee

never promised to do so. Nor did the Trustee agree that if the examinations could not be completed

in a single day, that the Trustee was waived the right to complete the examinations on another date.

       Unfortunately, rather than reciprocate the Trustee’s cooperation, Oak Street and Sheiker

are now engaging in gamesmanship. Having obtained the benefit of concurrent depositions, they

are now trying to force the Trustee to have completed two critically important Rule 2004

examinations in a single day, which will materially prejudice the Trustee and the creditors she has

a fiduciary duty to protect.

       Further, had Oak Street and Sheiker’s counsel informed the Trustee prior to the

examinations that they must be completed in a single day, then the Trustee’s counsel would not

have agreed to Oak Street and Sheiker’s request to take the examinations concurrently. Instead,

Trustee’s counsel would have demanded that the examinations take place independently, which

necessarily would result in two depositions over two dates, each of which could last at least seven


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hours. It is unfortunate that Oak Street and Sheiker are seeking to take advantage of the Trustee’s

counsel’s willingness to work cooperatively on the examinations.

       D.      Balancing the Harm Weighs Heavily in the Trustee’s Favor.

       When balancing the harm, it is clear the harm to the Trustee (and, in turn, the estates) in

precluding the completion of the examinations is materially greater than any purported harm to

Oak Street and Sheiker in allowing the examinations to resume.

       On the one hand, if the Trustee is not permitted to complete the examinations, the Trustee

will be unable to obtain critically important information known to Oak Street and Sheiker,

including information that is likely not known by any other witness. That runs contrary to

Bankruptcy discovery rules, which are broad and designed to allow the Trustee to “determin[e] the

nature and extent of the bankruptcy estate, reveal[] assets, examin[e] transactions and assess[]

whether wrongdoing has occurred.” In re Millennium Lab Holdings, LLC, 562 B.R. 614, 626 n.11

(Bankr. D. Del. 2016).

       On the other hand, Oak Street and Sheiker will suffer little, if any, harm if the examinations

are continued. As stated above, the Trustee has already agreed to (i) conduct the examinations in

Chicago where Sheiker resides and (ii) to work cooperatively to find a date that is mutually

agreeable to all parties. Sheiker cannot legitimately claim that driving down the street to resume

an examination causes him harm.

       E.      Request for Attorneys’ Fees.

       Given that Oak Street and Sheiker do not have a valid basis for refusing to allow the Trustee

to complete their examinations, the Trustee requests an award of the attorneys’ fees incurred in

connection with this Motion. See Bnkr. L.R. 2001-4(g).




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IV.    CONCLUSION

       For the reasons set forth herein, the Trustee requests that the Court (i) compel Oak Street

and Sheiker to allow the Trustee to complete the Rule 2004 examinations; (ii) award the Trustee

the reasonable attorneys’ fees incurred in connection with this Motion; and (iii) award all other

relief the Court deems just and proper.

Dated: March 29, 2024                                GREENBERG TRAURIG, LLP

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                                                     SPECIAL LITIGATION COUNSEL FOR THE
                                                     CHAPTER 7 TRUSTEE


                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been served
upon the parties eligible to receive notice through the Court’s ECF facilities by electronic mail on
March 29, 2024.



                                                 /s/ John D. Elrod
                                                 John D. Elrod


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